                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

                                    )
 ELLEN MILLER,                      )
           Plaintiff,               )
                                    )       No. 1:18-cv-04353
     v.                             )
                                    )
 ANDREW BALTERMAN,                  )
          Defendant.                )
                                    )
                DEFENDANT’S INITIAL STATUS REPORT

        NOW COMES the Defendant, ANDREW BALTERMAN, by his undersigned counsel,

and submits the following as his Initial Status Report pursuant to this Court’s standing order:1

        1.       This is an action brought by a beneficiary of the estate of the decedent, Elmore Lee

Balterman, complaining that Defendant, a beneficiary and the executor of said estate, breached his

fiduciary duty to Plaintiff through improper execution of the decedent’s estate, and further unduly

influenced the decedent almost a decade before his death. But for these acts, Plaintiff contends that

she would have received a greater share of the decedent’s estate. Plaintiff has demanded a trial by

jury.

        2.       The legal and factual issues in this matter relate to:

                 a.       Defendant’s administration of the decedent’s estate; and

                 b.       Defendant’s actions vis-à-vis the decedent in the decade prior to his death.

        3.       The parties engaged in settlement discussions during the pendency of the probate

proceedings in which they both participated before the Circuit Court of Cook County. No

settlement discussions have occurred to date in this matter.



1 Counsel for Defendant sent a proposed Joint Initial Status Report to Plaintiff’s counsel on the morning of
Monday, September 10, 2018. (See Exhibit A). As of the time of filing of this document, approximately 3:15 p.m. on
September 11, 2018, Defendant’s counsel has received no response from Plaintiff’s counsel. Accordingly, this
Status Report is submitted in Defendant’s name only.
       4.      Neither party has initiated discovery to date. Defendant anticipates that Plaintiff

will seek to engage in substantial discovery related to Defendant’s administration of the decedent’s

estate from August, 2012, when the probate proceedings commenced, through July, 2016, when

they concluded. Defendant further anticipates, based upon the allegations in Count II of Plaintiff’s

Complaint, that she will seek discovery regarding events which occurred as far back as 2003

involving Defendant and the decedent.

       5.      Defendant does not believe this Court possesses subject matter jurisdiction over

this action and has already filed a Rule 12(b)(1) Motion pursuant to the Rooker-Feldman doctrine

which remains pending and undetermined before this Court. If that Motion is unsuccessful,

Defendant anticipates moving for summary judgment on some or all of Plaintiff’s claims.

       6.      Defendant consents to proceed before a Magistrate Judge.

       7.      Defendant requests a settlement conference.

Respectively Submitted,

 BEERMANN LLP

 By: /s/ Matthew D. Elster
 One of Defendant’s Attorneys

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Exhibit A
